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                       EXHIBIT B

             Affidavit of Stephane Lagonico
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AFFIDAVIT
STÉPHANE LAGONICO, being first duly sworn deposes and says:

1. I am an attorney at law and admitted to practice before the Bar in the Canton of Vaud, Lausanne
   (Switzerland). I hold a Masters in Swiss Law from the University of Lausanne (Switzerland)
   and an LLM in European Law from the University of Brussels (Belgium) and am a partner of
   the law firm of Bonnard Lawson, with offices located at Rue du Grand-Chene 8, 1002
   Lausanne, Switzerland. I represent Albert Maximilian Amon, the only child of the late Mr.
   Maurice Amon, and submit this affidavit to explain that as of today and under Swiss law as
   applicable to the estate of the late Maurice Amon, Mrs. Espy-Hejailan, the widow of the late
   Maurice Amon, does not qualify as an heiress to his estate and is not entitled to receive
   information regarding the assets and liabilities of the estate of the late Mr. Maurice Amon.

2. As evidenced by the heirship certificate (acte de notoriété) issued by the Monegasque
   authority, the late Mr. Maurice A. Amon submitted his estate to Swiss law (professio juris), as
   authorized by Monegasque private international law (law n. 1.448 of 28 June 2017, article 57),
   designated his only son as heir to his entire estate and totally disinherited his wife, Mrs. Espy-
   Hejailan (the spouses had been in divorce proceedings for almost four years at the time the late
   Mr. Maurice Amon passed away). Swiss law - and only Swiss law - therefore governs (among
   other things) the status of heir, the disinheritance by will and the possible rights of the
   disinherited person (law n. 1.448 of 28 June 2017, article 63).

3. The position of the disinherited person under Swiss law. Under Swiss law, the law
   provides that a person (e.g., the wife) who has been totally disinherited is not an heir (neither
   legal nor reservatory; cf. art. 478 para. 1 of the Swiss Civil Code, hereinafter “CC”), and
   accordingly is not a member of the community of heirs and has no rights associated with the
   status of heir (including reservatory). The disinheritance is effective by the mere fact that it is
   recorded in the will without the need for a court decision. The disinherited person therefore
   has no right to information regarding the assets and liabilities of the estate 1, which makes sense
   since he/she could otherwise have access to confidential information (bank statements, etc.)
   while he/she may never be recognized as an heir. 2

4. The disinherited person can challenge (by a formative action) the testamentary clause
   disinheriting her/him, but s/he can only regain the quality of heir (instituted or reservatory),
   and the rights relating to it, in the event of a definitive judicial decision (formative judgment)
   invalidating the disinheritance clause. In this case, Mrs. Espy-Hejailan brought this action in
   three different fora (Bern, Lausanne and Monaco). It is only in the event of a definitive success

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   It should be noted that the disinherited party has a limited right to be informed of the facts underlying his/her
disinheritance to be able to effectively contest the disinheritance clause. In the present case, giving way to this
right is obviously irrelevant since Mrs. Espy-Hejailan is herself at the origin of the criminal complaints that led to
her disinheritance by the deceased and she is the only one, as a civil party, to have access to the criminal files in
question.
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  The situation of an disinherited heir-at-law is therefore very different from that of an heir-at-law whose reserve
has "merely" been damaged by the will (e.g., an unnamed heir-at-law or an heir-at-law whose reserve has been
mathematically damaged). The latter does not lose his or her status as a reserved heir at any time, and therefore
has the rights that are linked to it, in particular the right to information.
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   in her action that she could regain her status of reserved heir, and therefore the right to
   information relating thereto. This has been confirmed both by the Swiss judge and the
   Monegasque (Monaco) judge.


5. Decisions of the Swiss and Monegasque judges on Mrs. Espy-Hejailan’s right to
   information. Mrs. Espy-Hejailan filed before the Swiss judge in Thun (Bern) a request on
   August 16, 2021, that the executor of the will be obliged to provide her with:

       "the inventory of the estate of the late Maurice Amon as of the date of death (July 26, 2019) and
       to provide the plaintiff with all information on the current situation of the estate (i.e., information
       on the amount and inventory of all assets and liabilities and the location of assets)." (finding 7)

       The judge refused, holding as follows in his January 27, 2022 decision (cif. 7.2.3) :

       "Further, it is not apparent that the information sought is relevant to the issue of whether the
       plaintiff has a claim under the matrimonial property regime or the estate against the decedent or
       his estate. The inventory, amount, and location of the decedent's estate need only be considered
       in determining the amount of the claim that the plaintiff asserts, and thus are only decisive once
       a matrimonial property and/or estate claim by the plaintiff is recognized in principle." [emphasis
       added]

6. Before the judge in Monaco, Ms. Espy-Hejailan filed a unilateral motion (compulsoire) on
   September 16, 2019, for the purpose of obtaining from the executor of the will and the family
   office of the late Mr. Amon, all

       "documents and information relating to assets of any kind acquired, held, administered or
       managed directly or through trusts, foundations, companies, trustees or agents, in the name and
       on behalf of the late Maurice Amon at the date of his death".

       The judge refused, holding as follows in his decision of November 28, 2019:

       "It appears from the elements submitted in support of the petition that the status of reservatory
       heiress of Tracey HEJAILAN widow AMON and the extent of her inheritance rights are obviously
       subject to contradictory debate and cannot be assessed by the President of the Court ruling on
       the petition. Thus the applicant does not sufficiently justify a legitimate interest in obtaining the
       communication of information relating to her alleged inheritance rights.

7. The Swiss and Monegasque judges have therefore reached the same conclusion: Mrs. Espy-
   Hejailan must first obtain a formative judgment invalidating her disqualification before she
   can claim a right to information.

8. The decision of the Supreme Court of Bern of January 14, 2020. In this case, the refusal
   of the courts to give Mrs. Espy-Hejailan access to information is all the more justified since
   her formative action on the merits (brought in Bern, Lausanne and Monaco) has little chance
   of success. This is the conclusion of the decision of the Supreme Court of Berne of January 14,
   2020. The court underlined the prima facie validity of the exoneration [disinheritance] clause


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   provided by Mr. Amon (in the context of provisional measures requested by Mrs. Espy-
   Hejailan):

       "[I]t must first be noted that unfounded criminal complaints can quite suffice as grounds for
       exoneration according to the case law of the Federal Supreme Court (ATF 76 II 265; 55 Il 164; cf.
       Beispiele aus der Praxis, BESSENICH, Commentaire bâlois relatif au CC, fifth edition 2015, N 14
       concerning article 477 CC). With regard to the burden of proof, article 479, paragraph 2 CC
       provides that the heir who takes advantage of the disinheritance must prove the correctness of
       his reason. To this extent, it would be sufficient for the plaintiff to simply assert that a reason for
       disinheritance exists.

       This allocation of the burden of proof is only relevant where there is no evidence. This is not the
       case here: in assessing the evidence for the will and the specific details of article 5 of the will, the
       Chamber considers that the incidents described therein have been made plausible. This is also
       because, in view of the detailed account in the will, after a cursory examination, it seems
       implausible that the reasons for the disinheritance are a pretext or freely invented. Rather, it
       can be assumed that the plaintiff actually filed the various complaints. Moreover, the plaintiff
       does not contest in a reasoned manner that she has filed several complaints against the
       defendant [i.e. the deceased]. Rather, she challenges the exoneration [the disinheritance] with
       the argument of form, in view of the strict conditions for an exoneration, assuming that the
       challenge to the will will succeed (cf. point 11 above). Finally, the plaintiff has never argued that
       the criminal actions taken would have led to a concrete result, i.e. to the conviction of the
       defendant.

       Other evidence such as the acts of the mentioned proceedings are therefore not required for a
       prima facie case. After a summary examination, the Chamber therefore concludes that the
       plaintiff's exoneration has been rendered likely valid, no claim arising from inheritance law
       therefore accrues to her." [emphasis added].

9. Based upon the foregoing, under Swiss law, Mrs. Espy-Hejailan has no right to compel the
   production of information from Christie’s or any other third party based on the allegations that
   she is an heir of or otherwise entitled to share in the estate of the late Mr. Maurice Amon.

10. I affirm this ___ day of April, 2023, under penalty of perjury under the laws of New York,
    which may include a fine or imprisonment, that I am physically located outside the
    geographical borders of the United States, Puerto Rico, the U.S. Virgin Island or any territory
    or insular possession subject to the jurisdiction of the United States, that the foregoing is true,
    and that I understand that this document may be filed in an action or proceeding in a court of
    law.



                                                  _____________________________________________
                                                  STÉPHANE LAGONICO, attorney at law




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